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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

  NETLIST, INC.                                 §
                                                §
  v.                                            §          Case No. 2:22-CV-0203-JRG-RSP
                                                §
  MICRON TECHNOLOGY, INC., ET AL.               §

                                    Motions Hearing
                           MAG. JUDGE ROY PAYNE PRESIDING
                                    August 22, 2023
  OPEN: 1:30 pm                                         ADJOURN: 3:01 pm

  ATTORNEYS FOR PLAINTIFF:                           Jason Sheasby
                                                     Sam Baxter

  ATTORNEY FOR DEFENDANTS:                           Mike Rueckheim
                                                     Ryuk Park
                                                     Wes Hill

  LAW CLERK:                                         Kyle Dockendorf

  COURT REPORTER:                                    Shawn McRoberts

  COURTROOM DEPUTY:                                  Becky Andrews

  Court opened. Case called. Sam Baxter introduced co-counsel and announced ready. Wes Hill
  introduced co-counsel and announced ready.

  The Court heard argument on the following motions: Plaintiff’s Motion to Compel Defendants
  to Produce Relevant License Agreements and Lists of Patents Licensed (Dkt. No. 131); Plaintiff’s
  Motion to Compel Defendants to Produce Documents Improperly Designated as “Source Code”
  and for an Order Finding Defendants in Violation of P.R. 3-4 (Dkt. No. 132); Plaintiff’s Motion
  to Compel Production of Documents and Information of Micron’s Component Suppliers (Dkt.
  No. 133); and Motion to Compel Production of Certain Materials from Netlist’s SK Hynix
  Litigation and Negotiation Documents (Dkt. No. 135). Jason Sheasby argued for plaintiff.
  Mike Rueckheim argued for defendants. The Court made rulings and will enter an Order.
